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                                         UNITED STATES DISTRICT COURT

                                          FOR THE DISTRICT OF IDAHO

 REBECCA SCOFIELD,                                        Case No. 3:22-cv-00521-REP

                            Plaintiff,                    PLAINTIFF’S AMENDED
                                                          STATEMENT OF UNDISPUTED
          v.                                              MATERIAL FACTS

 ASHLEY GUILLARD,

                            Defendant.


         Pursuant to Federal Rule of Civil Procedure 56 and Local Civil Rule 7.1(b)(1), Plaintiff

Rebecca Scofield (“Professor Scofield”) submits this Amended Statement of Undisputed

Material Facts along with Plaintiff’s Amended Motion for Partial Summary Judgment.

    1. Professor Scofield is an Associate Professor of History and Department Chair at the

University of Idaho. Declaration of Rebecca Scofield in Support of Amended Motion for Partial

Summary Judgment (“Amended Scofield Decl.”), ¶ 1.

    2. Defendant Ashley Guillard (“Ms. Guillard”) is a resident of Texas.




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    3. Professor Scofield served Ms. Guillard with discovery requests, including requests for

admission pursuant to Rule 36, on June 20, 2023. Declaration of Wendy Olson in Support of

Plaintiff’s Amended Motion for Partial Summary Judgment (“Amended Olson Decl.”), Ex. A.

    4. Under the Federal Rules of Civil Procedure, Ms. Guillard’s responses to those discovery

requests were due on July 20, 2023.

    5.    Ms. Guillard provided her responses to the requests for admission on December 15,

2023, the same date that discovery closed in this case. Although Professor Scofield send a

deficiency letter on December 20, 2023, asking Ms. Guillard to respond, Ms. Guillard has not

responded to Plaintiff’s interrogatories or requests for production. Instead, Ms. Guillard sent an

email on January 1, 2024, stating that she was on vacation when the deficiency letter was sent

and that she would get back to Professor Scofield’s counsel by “the end of the week.” Amended

Olson Decl., ¶ 2, 3, 17, 20, Ex. A, P, R; ECF 38, ¶ 6.

    6. Ms. Guillard has never been to the State of Idaho. Amended Olson Decl., Ex. A at RFA 8

Response.

    7. Ms. Guillard has never been to Moscow, Idaho. Id. at RFA 7 Response.

    8. In the early morning hours of November 13, 2022, four students at the University of

Idaho—K.G., M.M., X.K., and E.C.1—were murdered in a home near the campus.

    9. Professor Scofield did not personally know any of the victims. Amended Scofield Decl.,

¶ 9–11.

    10. At the time of the murders, Professor Scofield was not in Idaho. Id., ¶ 12.




1
  To respect the privacy of the victims and their families, this Statement of Material Facts refers to the victims by
their initials.

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    11. On or around November 22, 2022, Ms. Guillard began uploading and posting videos to

the social media website TikTok addressing the murders at the University of Idaho. ECF 20 at

p.13–14.

    12. In her TikToks posted on or about November 24, and thereafter, Ms. Guillard made

numerous statements that Professor Scofield was involved in the murders of K.G., M.M., X.K.,

and E.C. Id.; Amended Olson Decl., Exs. E, F, G, H, I; ECF 32 at 3; ECF 35 at 2.

    13. In a TikTok posted November 26, 2022, Ms. Guillard stated, inter alia, that there were

two people who partnered to kill the four University of Idaho students, “Rebecca Scofield” and

J.D. Id., Ex. E.

    14. In a TikTok posted November 28, 2022, Ms. Guillard stated that “I don’t care what y’all

say . . . [J.D.] & Rebecca Scofield killed [K.G., M.M., E.C. & X.K.] . . . Rebecca was the one to

initiate the plan and hired [J.D.]” Id., Ex. F.

    15. In a TikTok posted November 28, 2022, Ms. Guillard stated that Rebecca Scofield’s

decision to have the students killed was based on her connection to one of the students, K.G. Id.,

Ex. G.

    16. In a TikTok posted December 1, 2022, Ms. Guillard stated that she was “not worried

about Rebecca Scofield suing me . . . she ordered the execution, the murder of” the four students.

Id., Ex. H.

    17. In a TikTok posted December 2, 2022, Ms. Guillard stated that “Rebecca Scofield is

going to prison whether you like it or not” for killing the four students. Id., Ex. I.

    18. Ms. Guillard’s statements that Professor Scofield was involved in the murders were false.

Amended Scofield Decl., ¶¶ 7–8, 12.




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    19. Ms. Guillard claims that when she made statements that Professor Scofield was involved

in or orchestrated the murders of the four students, she was announcing the results of a tarot card

reading and that the basis for Ms. Guillard’s statements that Professor Scofield was involved in

the murders was Ms. Guillard’s spiritual research, intuition, instincts, and investigative skills.

Amended Olson Decl., Ex. A at RFA 2, 6 Responses; ECF 32 at 2; ECF 35 at 2.

    20. Ms. Guillard is not aware of any physical evidence linking Professor Scofield to the

murders. Amended Olson Decl., Ex. A at RFA 9 Response. She claims that there is plenty of

evidence to be discovered during the civil discovery process or criminal trial. Id.

    21. Ms. Guillard currently has no written information that showed Professor Scofield had

ever met X.K., M.M., E.C., Id., Ex. A at RFA 15, 17, 19 Responses. She claims that discovery is

still pending and that public information from the victims’ social media may show that Professor

Scofield met X.K., M.M. or E.C. Id.

    22. Ms. Guillard currently has not received any information orally from another human being

showing that Professor Scofield ever met X.K., M.M. or E.C. Id, Ex. A at RFA 16, 18, 20

Responses.

    23. The University of Idaho confirmed in a subpoena response that it has no records of K.G.,

X.K., M.M. or E.C. ever being enrolled in a class taught by Professor Scofield. Id., Ex. N.

    24. The University of Idaho confirmed in a subpoena response that it has no records showing

that K.G. X.K., M.M. or E.C. ever communicated with Professor Scofield. Id., Ex. S.

    25. In her TikToks, Ms. Guillard also made numerous statements that Professor Scofield was

romantically involved with K.G., one of the University of Idaho students who was murdered.

Amended Olson Decl., Exs G, J, K, L.




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    26. In a Tiktok posted November 28, 2022, Ms. Guillard stated that Rebecca Scofield and

[K.G.]’s connection is the reason Professor Scofield ordered the murder. Id., Ex. G.

    27. In a TikTok posted December 5, 2022, Ms. Guillard stated that “Rebecca Scofield was

being a sugar momma to [K.G.]”, that the pair were on a break and that during the break

Professor Scofield “was worried about being caught . . . and that’s when she started planning her

murder.” Id., Ex. J.

    28. In a TikTok posted December 5, 2022, Ms. Guillard stated that Professor Scofield’s

relationship with K.G. was “filling Rebecca’s need for a woman” Id., Ex. K.

    29. In a TikTok posted November 25, 2022, Ms. Guillard stated that there was a specific

university policy that Professor Scofield was worried about violating “if people found out she

was dating [K.G.]”. Id., Ex. L.

    30. Ms. Guillard’s statements that Professor Scofield was romantically involved with K.G.

were false. Amended Scofield Decl., ¶ 6.

    31. Ms. Guillard claims that when she made statements that Professor Scofield was

romantically involved with K.G. she was announcing the results of a tarot card reading and that

the only basis for Ms. Guillard’s statements that Professor Scofield was romantically involved

with K.G. was Ms. Guillard’s spiritual research, intuition, instincts, and investigative skills.

Amended Olson Decl., Ex. A at RFA 1, 5 Responses.

    32. Ms. Guillard has no physical evidence showing that Professor Scofield had a romantic

relationship with K.G. Id., Ex. A at RFA 10 Response. She claims that there is plenty of

evidence to be discovered during the civil discovery process or criminal trial. Id.




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    33. Ms. Guillard’s TikTok account had thousands of followers, and some of her TikToks

defaming Professor Scofield had thousands of “likes,” indicating that a third party had viewed

the video and “liked” it. Id., Ex. O.

    34. The following crimes are punishable by imprisonment in the State of Idaho: murder,

manslaughter, and criminal conspiracy. Idaho Code §§ 18-4001, 4004, 1701.

    35. Solicitation of a crime is punishable by imprisonment in the State of Idaho. Idaho Code

§§ 18-2001, 2004.

    36. An accessory to a crime is punishable by imprisonment in the State of Idaho. Idaho

Code § 18-206.

    37. On November 28, 2022, Plaintiff’s counsel sent a cease-and-desist letter to Ms. Guillard,

notifying Ms. Guillard that she had made false and defamatory statements regarding Professor

Scofield on TikTok, and demanding that Ms. Guillard immediately remove all such false and

defamatory statements from TikTok and immediately cease and desist from making or

publishing similar TikToks or false statements on any other public platform. Amended Olson

Decl., Ex. B.

         38.       On December 8, 2022, Plaintiff’s counsel sent a second cease and desist letter to

Ms. Guillard, reiterating that Ms. Guillard had made multiple false and defamatory statements

regarding Professor Scofield on TikTok, and again demanding that Ms. Guillard remove all such

statements from the TikTok platform and cease and desist from making or publishing any similar

statements on TikTok or elsewhere. Id., Ex. C.

         39.       Ms. Guillard received and read that letter. Id., Ex. A at RFA 26 Response; Ex. M.




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         40.       Nevertheless, Ms. Guillard continued to state publicly that Professor Scofield had

an affair with K.G., one of the University of Idaho students who was murdered, and was

involved in the murders of K.G., M.M., X.K., and E.C. Id., Ex. A at RFA 27–28 Responses.

         41.       On December 27, 2022, the Moscow Police Department issued a press release

related to the murders stating: “At this time in the investigation, detectives do not believe the

female associate professor and chair of the history department at the University of Idaho suing a

TikTok user for defamation is involved in this crime.” Id., Ex. N.

         42. Ms. Guillard was aware of the December 27, 2022, press release and continued to

state that Professor Scofield was involved with the Murders even after becoming aware of the

press release. Id., Ex. A at RFA 29, 30 Responses.

         43.       The University of Idaho maintains a Faculty Staff Handbook containing policies

governing the conduct and behavior of professors, including Policy 3205 concerning Consensual

Romantic or Sexual Relationships and Policy 3220 concerning Sexual Harassment. Amended

Scofield Decl., Exs. A, B.

         44.       Policy 3205 provides that “it is the policy of the University of Idaho that no

employee shall enter into or continue a romantic or sexual relationship with a student or

employee over whom she or he exercises academic, administrative, supervisory, evaluative,

counseling or other authority.” Id., Ex. A.

         45.       Policy 3220 provides that the University of Idaho “condemns sexual harassment”

and defines sexual harassment as including “behavior that overtly or covertly uses the power

inherent in the status of a professor, teacher, or other officer to affect a student’s educational

experience or career opportunities by intimidating, threatening, or coercing the student to accept




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sexual advances or risk reprisal in terms of a grade, a recommendation, an opportunity for

professional growth, or a job.” Id., Ex. B.

         46.       A University of Idaho professor found to have violated Policy 3205 is considered

to have committed “unprofessional conduct” and may be subject to “discipline up to and

including dismissal.” Id., Ex. A.

         47.       Policy 3205 further provides that, “A romantic or sexual relationship” of the kind

forbidden by the policy “inevitably raises concerns for objectivity, fairness and exploitation”

because they “have the potential for abuse and damaging consequences; the imbalance of power

creates unacceptable risks of exploitation, favoritism, harassment, and bias, both actual and

perceived, and thereby impairs the integrity of the professional relationship and the trust on

which it depends.” Id., Ex. A.

         48.       A University of Idaho professor found to have violated Policy 3220 is subject to

“immediate and appropriate corrective measures, including disciplinary action commensurate

with the scope and severity of the occurrence. Such disciplinary action may include, but is not

limited to, warning, reprimand, demotion, suspension, or dismissal with notation in the personnel

file.” Id., Ex. B.

         49.       The State of Idaho has charged Bryan Kohberger by way of indictment with the

murders of X.C., M.M., E.C., and K.G. Amended Olson Decl., Ex. T.

         50.       The indictment does not name Rebecca Scofield or provide any suggestion that

any person other than Mr. Kohberger was involved in or orchestrated the murders. Id.

         51.       Ms. Guillard has no evidence that she ever communicated with J.D., the

University of Idaho student she first claimed Professor Scofield hired to execute the murders, or

Bryan Kohberger. She maintains that she “cannot admit or deny this matter. Many people have



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anonymously contacted me by way of electronic communication.” Id., Ex. A (RFA 13, 14

Responses).

         52.       Ms. Guillard has admitted that she does not have any written information showing

that Professor Scofield ever met J.D., the University of Idaho student that Ms. Guillard publicly

stated Professor Scofield hired to commit the murders. She stated, “As of today, December 15,

2023, this matter is admitted. However, discovery is still pending.” Id., Ex. A (RFA 21

Response).

         53.       Ms. Guillard states that Professor Scofield “has not proven” that she did not have

an affair with K.G. or that she was not involved in the murders. Id., Ex. A (RFA 3, 4 Responses).

          DATED: January 12, 2024.

                                                       STOEL RIVES LLP



                                                       /s/ Wendy J. Olson
                                                       Wendy J. Olson
                                                       Elijah M. Watkins
                                                       Cory M. Carone

                                                       Attorneys for Plaintiff




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                                 CERTIFICATE OF SERVICE

         I hereby certify that on January 12, 2024, I served a copy of the foregoing via CM/ECF on

the Registered Participant as follows:

         Ashley Guillard
         msashleyjt@gmail.com


                                              /s/ Wendy J. Olson
                                              Wendy J. Olson




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